Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 1 of 71 Page ID
                                 #:1721
                                 #:2551




                                                                EXHIBITSp000001
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 2 of 71 Page ID
                                 #:1722
                                 #:2552




                                                                EXHIBITSp000002
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 3 of 71 Page ID
                                 #:1723
                                 #:2553




                                                                EXHIBITSp000003
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 4 of 71 Page ID
                                 #:1724
                                 #:2554




                                                                EXHIBITSp000004
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 5 of 71 Page ID
                                 #:1725
                                 #:2555




                                                                EXHIBITSp000005
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 6 of 71 Page ID
                                 #:1726
                                 #:2556




                                                                EXHIBITSp000006
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 7 of 71 Page ID
                                 #:1727
                                 #:2557




                                                                EXHIBITSp000007
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 8 of 71 Page ID
                                 #:1728
                                 #:2558




                                                                EXHIBITSp000008
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 9 of 71 Page ID
                                 #:1729
                                 #:2559




                                                                EXHIBITSp000009
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 10 of 71 Page ID
                                  #:1730
                                  #:2560




                                                                 EXHIBITSp000010
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 11 of 71 Page ID
                                  #:1731
                                  #:2561




                                                                 EXHIBITSp000011
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 12 of 71 Page ID
                                  #:1732
                                  #:2562




                                                                 EXHIBITSp000012
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 13 of 71 Page ID
                                  #:1733
                                  #:2563




                                                                 EXHIBITSp000013
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 14 of 71 Page ID
                                  #:1734
                                  #:2564




                                                                 EXHIBITSp000014
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 15 of 71 Page ID
                                  #:1735
                                  #:2565




                                                                 EXHIBITSp000015
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 16 of 71 Page ID
                                  #:1736
                                  #:2566




                                                                 EXHIBITSp000016
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 17 of 71 Page ID
                                  #:1737
                                  #:2567




                                                                 EXHIBITSp000017
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 18 of 71 Page ID
                                  #:1738
                                  #:2568




                                                                 EXHIBITSp000018
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 19 of 71 Page ID
                                  #:1739
                                  #:2569




                                                                 EXHIBITSp000019
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 20 of 71 Page ID
                                  #:1740
                                  #:2570




                                                                 EXHIBITSp000020
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 21 of 71 Page ID
                                  #:1741
                                  #:2571




                                                                 EXHIBITSp000021
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 22 of 71 Page ID
                                  #:1742
                                  #:2572




                                                                 EXHIBITSp000022
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 23 of 71 Page ID
                                  #:1743
                                  #:2573




                                                                 EXHIBITSp000023
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 24 of 71 Page ID
                                  #:1744
                                  #:2574




                                                                 EXHIBITSp000024
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 25 of 71 Page ID
                                  #:1745
                                  #:2575




                                                                 EXHIBITSp000025
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 26 of 71 Page ID
                                  #:1746
                                  #:2576




                                                                 EXHIBITSp000026
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 27 of 71 Page ID
                                  #:1747
                                  #:2577




                                                                 EXHIBITSp000027
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 28 of 71 Page ID
                                  #:1748
                                  #:2578




                                                                 EXHIBITSp000028
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 29 of 71 Page ID
                                  #:1749
                                  #:2579




                                                                 EXHIBITSp000029
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 30 of 71 Page ID
                                  #:1750
                                  #:2580




                                                                 EXHIBITSp000030
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 31 of 71 Page ID
                                  #:1751
                                  #:2581




                                                                 EXHIBITSp000031
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 32 of 71 Page ID
                                  #:1752
                                  #:2582




                                                                 EXHIBITSp000032
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 33 of 71 Page ID
                                  #:1753
                                  #:2583




                                                                 EXHIBITSp000033
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 34 of 71 Page ID
                                  #:1754
                                  #:2584




                                                                 EXHIBITSp000034
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 35 of 71 Page ID
                                  #:1755
                                  #:2585




                                                                 EXHIBITSp000035
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 36 of 71 Page ID
                                  #:1756
                                  #:2586




                                                                 EXHIBITSp000036
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 37 of 71 Page ID
                                  #:1757
                                  #:2587




                                                                 EXHIBITSp000037
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 38 of 71 Page ID
                                  #:1758
                                  #:2588




                                                                 EXHIBITSp000038
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 39 of 71 Page ID
                                  #:1759
                                  #:2589




                                                                 EXHIBITSp000039
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 40 of 71 Page ID
                                  #:1760
                                  #:2590




                                                                 EXHIBITSp000040
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 41 of 71 Page ID
                                  #:1761
                                  #:2591




                                                                 EXHIBITSp000041
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 42 of 71 Page ID
                                  #:1762
                                  #:2592




                                                                 EXHIBITSp000042
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 43 of 71 Page ID
                                  #:1763
                                  #:2593




                                                                 EXHIBITSp000043
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 44 of 71 Page ID
                                  #:1764
                                  #:2594




                                                                 EXHIBITSp000044
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 45 of 71 Page ID
                                  #:1765
                                  #:2595




                                                                 EXHIBITSp000045
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 46 of 71 Page ID
                                  #:1766
                                  #:2596




                                                                 EXHIBITSp000046
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 47 of 71 Page ID
                                  #:1767
                                  #:2597




                                                                 EXHIBITSp000047
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 48 of 71 Page ID
                                  #:1768
                                  #:2598




                                                                 EXHIBITSp000048
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 49 of 71 Page ID
                                  #:1769
                                  #:2599




                                                                 EXHIBITSp000049
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 50 of 71 Page ID
                                  #:1770
                                  #:2600




                                                                 EXHIBITSp000050
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 51 of 71 Page ID
                                  #:1771
                                  #:2601




                                                                 EXHIBITSp000051
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 52 of 71 Page ID
                                  #:1772
                                  #:2602




                                                                 EXHIBITSp000052
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 53 of 71 Page ID
                                  #:1773
                                  #:2603




                                                                 EXHIBITSp000053
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 54 of 71 Page ID
                                  #:1774
                                  #:2604




                                                                 EXHIBITSp000054
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 55 of 71 Page ID
                                  #:1775
                                  #:2605




                                                                 EXHIBITSp000055
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 56 of 71 Page ID
                                  #:1776
                                  #:2606




                                                                 EXHIBITSp000056
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 57 of 71 Page ID
                                  #:1777
                                  #:2607




                                                                 EXHIBITSp000057
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 58 of 71 Page ID
                                  #:1778
                                  #:2608




                                                                 EXHIBITSp000058
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 59 of 71 Page ID
                                  #:1779
                                  #:2609




                                                                 EXHIBITSp000059
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 60 of 71 Page ID
                                  #:1780
                                  #:2610




                                                                 EXHIBITSp000060
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 61 of 71 Page ID
                                  #:1781
                                  #:2611




                                                                 EXHIBITSp000061
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 62 of 71 Page ID
                                  #:1782
                                  #:2612




                                                                 EXHIBITSp000062
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 63 of 71 Page ID
                                  #:1783
                                  #:2613




                                                                 EXHIBITSp000063
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 64 of 71 Page ID
                                  #:1784
                                  #:2614




                                                                 EXHIBITSp000064
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 65 of 71 Page ID
                                  #:1785
                                  #:2615




                                                                 EXHIBITSp000065
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 66 of 71 Page ID
                                  #:1786
                                  #:2616




                                                                 EXHIBITSp000066
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 67 of 71 Page ID
                                  #:1787
                                  #:2617




                                                                 EXHIBITSp000067
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 68 of 71 Page ID
                                  #:1788
                                  #:2618




                                                                 EXHIBITSp000068
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 69 of 71 Page ID
                                  #:1789
                                  #:2619




                                                                 EXHIBITSp000069
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 70 of 71 Page ID
                                  #:1790
                                  #:2620




                                                                 EXHIBITSp000070
Case 8:16-cv-01142-CJC-KES Document 91-1
                                    55-1 Filed 01/16/18
                                               10/12/17 Page 71 of 71 Page ID
                                  #:1791
                                  #:2621




                                                                 EXHIBITSp000071
